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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

     UNITED STATES EQUAL
     EMPLOYMENT OPPORTUNITY
     COMMISSION,

                            Plaintiff,
     VS.                                                    Case No: 8:17-cv-02262-T17-JSS

     THE CHILDREN'S HOME, INC.,

                            Defendant.
                                                            I

                                         CONSENT DECREE

            The Consent Decree ("Decree") is made and entered into by and between Plaintiff

     U.S. Equal Employment Opportunity Commission ("EEOC") and Defendant The Children's

     Home, Inc. dba Children's Home Network ("CHN"). The EEOC and CHN are collectively

     referred to as the "Parties" throughout this Decree.

                                          INTRODUCTION

            1.      The EEOC filed this action on September 28, 2017, under Title VII of the

     Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e et seq. ("Title VII"), and Title I of

     the Civil Rights Act of 1991, 42 U.S.C. §1981a, to correct unlawful employment practices on

     the basis of sex and retaliation and to provide appropriate relief to Luis Vazquez.

            2.      The EEOC alleged that CHN violated Title VII of the Civil Rights Act of

     1964 and Title I of the Civil Rights Act of 1991, by failing to consider and/or hire Luis

     Vazquez for a newly created position based on his sex, male.
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            3.      CHN denies the allegations but, in an effort to resolve this dispute, agrees to

     the entry of this Consent Decree.

                                         EFFECTIVE DATE

            4.      The Effective Date of this Decree is the date on which the Court gives final

     approval to the Decree by entering it on the Court docket after motion and hearing, if

     required.

                                     GENERAL PROVISIONS

            5.      The parties wish to settle this action by Consent Decree and agree to the

     power of this Court to enter a Consent Decree enforceable against the parties. The parties

     further agree this Decree fully, fairly, and finally resolves all claims asserted in the

     Complaint filed by the EEOC in this action styled EEOC v. The Children's Home, Inc., Case

     No. 8: l 7-cv-02262-Tl 7-JSS, in the United States District Court, Middle District of Florida,

     on September 28, 2017. Such action arose from the allegations contained in EEOC Charge

     Number 511-2016-01986.

            6.      The Parties acknowledge that this Decree does not resolve any Charges of

     Discrimination that may be pending with EEOC against CHN. This Decree in no way affects

     the EEOC's right to bring, process, investigate or litigate other charges that may be in

     existence or may later be filed against CHN in accordance with standard EEOC procedures.

            7.      If one or more provisions of this Decree are rendered unlawful or

     unenforceable, the Parties shall attempt to agree upon what amendment to this Decree, if any,

     is appropriate to effectuate the purposes of the unlawful or unenforceable portion of this

     Decree. In any event, the unaffected provisions will remain enforceable.




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            8.        No waiver, modification, or amendment of any provision of this Decree will

     be effective unless made in writing and signed by an authorized representative of each of the

     Parties. By mutual agreement of the Parties, this Decree may be amended or modified in the

     interests of justice and fairness in order to effectuate the provisions of this Decree.

            9.        Neither this Decree nor any order approving this Decree is or shall be

     construed as an admission by CHN of the truth or of the validity of any allegations asserted

     in this civil action or of CHN's liability.

             10.      Having carefully examined the terms and provisions of this Decree, and based

     on the pleadings, record and stipulations of the Parties, the Court find the following:

                   a. This Court has jurisdiction over the subject matter of this action and the

                      Parties;

                   b. No party shall contest the jurisdiction of this Federal Court to enforce this

                      Decree and its terms or the right of EEOC to bring an enforcement suit upon

                      alleged breach of any term(s) of this Decree;

                   c. The terms of this Decree are adequate, reasonable, equitable, and just, and the

                      rights of the Parties, and the public interest are adequately protected by this

                      Decree; and

                   d. The terms of this Decree are and shall be binding upon the present and future

                      representatives, agents, directors, officers, successors, and assigns of CHN.

             IT IS THEREFORE ORDERED, ADJUDGED AND DECREED AS FOLLOWS:

              DURATION OF THE DECREE & RETENTION OF JURISDICTION




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            11.     All provisions of this Decree shall be in effect (and the Court will retain

     jurisdiction of this matter to enforce this Decree) for a period of two (2) years after the

     Effective Date, provided, however, that if, at the end of the two-year period, any disputes

     regarding compliance remain unresolved, the term of the Decree shall be automatically

     extended (and the Court will retain jurisdiction of this matter to enforce the Decree) until

     such time as all such disputes have been resolved.


                                       MONETARY RELIEF

            12.     In settlement of this lawsuit, CHN shall pay a lump sum in the amount of

     $18,000. This sum shall be the full and final amount CHN shall pay to settle claims brought

     by the EEOC in this lawsuit based on EEOC Charge of Discrimination No. 511-2016-01986.

            13.    No later than fourteen (14) days from the Effective Date, CHN will deliver

     payment in the form of a check payable to Luis Vazquez, which shall constitute payment for

     compensatory and punitive damages. The check shall be delivered via hand delivery or

     certified mail, return receipt requested, to: Luis Vazquez, 540 W. New York Avenue,

     Deland, FL 32720.

            14.     CHN will issue an I.R.S. Form 1099 to Mr. Vazquez for the above listed

     amount at the address listed above.

            15.     If CHN fails to tender payment as described in paragraphs 12 and 13, above,

     then CHN shall pay interest on the defaulted payment at the rate calculated pursuant to 26

     U.S.C. § 6621(6) until the same is paid, and bear any additional costs incurred by the EEOC

     caused by the non-compliance or delay of CHN.




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             16.       Copies of all payments made pursuant to paragraphs 12 and 13 above, and the

    I.R.S. Form 1099 referred to in paragraph 14, shall be forwarded to "Robert E. Weisberg,

    Regional Attorney, Re: CHN Consent Decree" at U.S. Equal Employment Opportunity

    Commission,         100   S.E.   2nd   Street,   Suite   1500,   Miami,    Florida   33131     and

    ro bert. weisberg@eeoc.gov

                                              INJUNCTION

             17.     No discrimination. CHN and its officers, managers, supervisors, employees,

    agents, successors, and assigns, are enjoined from failing to consider and/or hire men for

    positions, including but not limited to positions in the Adolescents in Motherhood program

     (or its successor). CHN's hiring decisions and all its terms and conditions of employment

     shall be maintained and conducted in a manner that does not discriminate on the basis of sex

     in violation of Title VII.

             18.     No retaliation. CHN, its officers, managers, supervisors, agents, employees,.

     successors in interest, and all persons acting in concert with them or on their behalf, shall not

    retaliate against any applicants or employees who: oppose any hiring practice made unlawful

     by Title VII; file a charge of discrimination on the basis of sex; or assist in any investigation,

    proceeding, or hearing in connection with any charge of discrimination or complaint of sex

     discrimination.

             19.       Compliance with Federal Equal Employment Opportunity Laws. Nothing in

    this Decree shall be construed to limit or reduce CHN's obligation to comply with the

     statutes enforced by EEOC: Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

     §2000e et seq., ("Title VII"), Title I of the Americans with Disabilities Act ("ADA"), 42



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    U.S.C. §12101, as amended, the Age Discrimination in Employment Act ("ADEA''), 29

    U.S.C. §§621-633a, the Equal Pay Act ("EPA"), 29 U.S.C. §206(d), and the Genetic

    Information Nondiscrimination Act of 2008 ("GINA"), 42 U.S.C. § 2000f.

        ONGOING COMMITMENT TO EQUAL EMPLOYMENT OPPORTUNITY

           20.      On an annual basis during the duration of this Decree, the Chief of Human

    Resources shall deliver an executive message to the CHN workforce regarding the

    importance of equal employment opportunity and diversity, including sex diversity in hiring

    and promotion.

           21.      Within thirty (30) calendar days of the Effective Date, CHN will complete the

    following steps relating to its job advertisements and applications for positions in all

    programs:

                 a. CHN shall direct managers or third-party vendors to include the following

                    language in all job advertisements: "Children's Home Network is an Equal

                    Opportunity Employer." The failure of an individual manager or third-party

                    vendor to include such language shall not be deemed a violation of the

                    Decree, provided that CHN takes prompt corrective action upon notice that a

                    job advertisement is not compliant.

                 b. Each application, whether paper or electronic, shall include the following

                     language:

                     CHILDREN'S HOME NETWORK IS AN EQUAL OPPORTUNITY
                     EMPLOYER.   QUALIFIED  APPLICANTS    WILL   RECEIVE
                     CONSIDERATION WITHOUT REGARD TO AGE, RACE, COLOR,
                     RELIGION, SEX, GENDER IDENTITY, NATIONAL ORIGIN,
                     SEXUAL ORIENTATION, FAMILY STATUS, OR DISABILITY. WE
                     ENCOURAGE ALL QUALIFIED APPLICANTS TO APPLY. IF YOU


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                       BELIEVE YOU HAVE BEEN DISCRIMINATED AGAINST, PLEASE
                       CONTACT THE CHIEF OF HUMAN RESOURCES. YOU ALSO
                       HAVE THE RIGHT TO FILE A CHARGE OF DISCRIMINATION
                       WITH    THE   EQUAL     EMPLOYMENT    OPPORTUNITY
                       COMMISSION.

         TRAINING OF HUMAN RESOURCES AND MANAGEMENT PERSONNEL

            22.        Upon execution of this Decree, CHN shall provide two (2) hours of live

     training on an annual basis for its human resources and management personnel.

            23.        The initial training shall take place within ninety (90) calendar days of the

     Effective Date.

            24.        CHN shall retain, at its own expense, a subject matter expert ("SME") on sex

     discrimination, including sex stereotyping, to conduct the training sessions. The SME shall

     be identified to the EEOC within thirty (30) days of the entry of this Decree, and CHN must

     obtain the EEOC's agreement on the SME. The EEOC's agreement on an SME will not be

     unreasonably withheld.

            25.        The training shall include, but is not limited to, the following: (1) an

     explanation of the prohibition against discrimination based on sex including, but not limited

     to, sex-neutral and non-discriminatory recruiting, interviewing, and hiring and training on

     how to avoid stereotypes, including sex-based stereotypes and gender-role stereotypes, in

     hiring, promotions and in the workplace; and (2) an explanation of the prohibition against

     retaliation under Title VII of the Civil Rights Act of 1964 including, but not limited to,

     CHN' s grievance and grievance investigation procedures, what constitutes retaliation for

     opposing discrimination or making a charge, testifying, assisting, or participating in any

     manner in investigations, proceedings, or hearings concerning discrimination or retaliation.




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           26.     CHN agrees that the EEOC, at its discretion, may attend training sessions

    required by this Consent Decree. CHN will provide the EEOC with at least fourteen (14)

    days' notice of the time, date, and location. The notice shall be sent to "Robert E. Weisberg,

    Regional Attorney, Re:      CHN Consent Decree" at robert.weisberg@eeoc.gov and

    chelsae.ford@eeoc.gov. CHN also agrees to notify the EEOC of any scheduling changes.

           27.     Within seven (7) days of the completion of each training session, CHN will

    notify the EEOC in writing of the completion of the date of the training session and the name

    and job title of each person who attended the training. CHN will also provide at this time all

    written or visual materials provided to the participants of the training sessions.       This

    information shall be sent to "Robert E. Weisberg, Regional Attorney, Re: CHN Consent

    Decree" at robert.weisberg@eeoc.gov and chelsae.ford@eeoc.gov

                                              NOTICE

           28.     Within ten (10) business days after the Effective Date of this Decree, CHN

    will post copies of the Notice attached as Exhibit A in at least two (2) conspicuous location

    easily accessible to and commonly frequented by CHN's employees. The Notices shall be at

    least eight and one-half by eleven inches and laminated. The Notices will remain posted for

    the duration of this Decree. CHN will take reasonable steps to ensure that the postings are

    not altered, defaced or covered by any other material. CHN will certify to the EEOC in

    writing within fourteen (14) business days after the Effective Date of the Decree that the

    Notices have been properly posted.




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                                MONITORING AND REPORTING

            29.    The EEOC may review compliance with this Decree and may request a report

    detailing complaints of discrimination or retaliation made by CHN employees, which shall

    include all complaints presented through CHN's Employee Grievance Procedure, CHN's

    Equal Employment Opportunity Policy, or otherwise in writing to CHN management. Where

    reports are requested, the report shall include a description of the nature of each complaint

    received, including the name and title of the alleged discriminator, name of the applicant or

    employee making the complaint, relevant dat~s, and what action (if any) CHN took in

    response to the complaint. If there are no complaints of discrimination or retaliation, CHN

    shall indicate the same.

            30.    CHN will provide to the EEOC the following written reports twice annually

    for a period of two (2) years following the Effective Date of this Decree. The reports shall be

    due annually on September 30 and March 31. Each report shall contain: (i) the name of each

    open non-executive position in the Adolescents in Motherhood program (or its successor) that

    CHN filled over the prior six months and, (ii) for each open position, a list of applicants for

    that position, as well as each applicant's gender (if known). CHN can provide an aggregate

    recruitment report that displays the count of applicants for each position by gender to satisfy

    the gender portion of this provision; (iii) each applicant's application; (iv) notes taken during

     interviews for the position, if any; and (v) the name and gender of the person hired for each

    position. The reports required by this Decree shall be sent to "Robert E. Weisberg, Regional

    Attorney,     Re:    CHN      Consent      Decree"     at    robert.weisberg@eeoc.gov        and

     chelsae.ford@eeoc.gov



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            31.     Nothing contained in this Decree shall be construed to limit any legal

     obligation CHN may otherwise have to maintain records, including under Title VII and its

     record keeping regulations.

                                         DISPUTE RESOLUTION

            32.     In the event that either party believes that the other party has failed to comply

     with any provisions of the Decree, the complaining party shall notify the alleged non-

     complying party in writing of such non-compliance and afford the alleged non-complying

     party fourteen (14) calendar days to remedy the non-compliance or satisfy the complaining

     party that the alleged non-complying party has, in fact, complied. Notice to CHN shall be by

     mail delivered to CHN's Chief of Human Resources at 10909 Memorial Highway, Tampa,

     FL    33615    and    email    to    its     outside   counsel,   Laura   E.   Prather,   Esq   at

     Laura.Prather@jacksonlewis.com.            This time period may be extended by the parties by

     written agreement. If the alleged non-complying party has not remedied the alleged non-

     compliance or satisfied the complaining party that it has complied within fourteen (14)

     calendar days (or such time period as otherwise agreed), the complaining party may apply to

     the Court for appropriate relief.

                                   NOTIFICATION OF SUCCESSORS

            33.     CHN shall provide prior written notice of this lawsuit and a copy of the

     Complaint and this Decree to any potential purchasers, successors, assigns, subsidiaries,

     affiliates, or any other corporation, entity, or division with which CHN may merge or

     consolidate. All such entities shall be bound by this Decree.




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                                                     COSTS

               34.        Each party to this Decree shall bear its own costs associated with this

       litigation.

               35.        CHN shall bear all reasonable costs incurred by the EEOC caused by CHN's

       non-compliance with this decree, including but not limited to costs arising out of EEOC's

       efforts to remedy any breach in this Court.

               IT IS SO ORDERED in Tampa, Florida on         $1/:Y/SJr.2018.
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       AGREED~Tnoi:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __::

       FORP          1   T(Fr U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION:

       By:
       ROBERT E. WEI BERG
                               C                             Date:   lf(rc,, /t~
       Regional Attorney
       U.S. EEOC
       Miami District Office
       l00 S.E. 2nd Street,
       Suite 1500
       Miami, Florida 3313 l
       Tel: 305-808-1789

       FOR DEFENDANT THE CHILDREN'S HOME, INC. DBA CHILDREN'S HOME
       NETWORK:



       ~~~~htj
       Title
                                                             Date:      t/.1~£:
       The Children's Home, Inc. dba Children's Home Network
       I0909 Memorial Highway
       Tampa, Fl 33615


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                                              EXHIBIT A

               NOTICE TO ALL THE CHILDREN'S HOME, INC. EMPLOYEES

             This Notice is being posted pursuant to a Consent Decree entered by the U.S. District
     Court, Middle District of Florida, in EEOC v. The Children's Home, Inc., Case No. 8:17-cv-
     02262-Tl 7-JSS. In this case, the EEOC's allegations included that CHN violated Title VII of
     the Civil Rights Act of 1964 and Title I of the Civil Rights Act of 1991, by failing to hire
     Luis Vazquez for a newly created position based on his sex, male. The Children's Home,
     Inc., dba Children's Home Network denies the allegations. As a result of a consent decree
     entered in the lawsuit, the company is required to display this posting.

              Title VII protects individuals from employment discrimination because of their sex.
     Additionally, Title VII protects employees from discrimination for making charges,
     testifying, assisting, or participating in enforcement proceedings. CHN will not condone
     employment discrimination of any kind as set forth in federal anti-discrimination laws. It is
     the policy of CHN to offer employment opportunities to all qualified employees and
     applicants, regardless of sex, race, color, religion, national origin, age, disability, or other
     protected characteristic. CHN does not tolerate intentional discrimination in violation of the
     provisions of Title VII of the Civil Rights Act of 1964, as amended; the Age Discrimination
     in Employment Act (ADEA); Genetic Information Nondiscrimination Act of 2008 (GINA);
     or the Equal Pay Act (EPA) of 1963, or the Americans with Disabilities Act (ADA), as
     amended.

            CHN assures its employees that it supports Title VII and will not take any action
     against an individual because he/she has exercised his/her rights under the law to oppose
     discriminatory acts or to file charges with the EEOC. Appropriate corrective action, up to and
     including termination, based upon the circumstances involved, shall be taken against any
     employee (including management personnel) found to have violated CHN policy prohibiting
     discrimination.

            The EEOC enforces the federal laws against discrimination in employment on the
     basis of disability, race, color, religion, national origin, sex and age. If you believe you have
     been discriminated against, you may contact the EEOC at 1(800)669-4000. The EEOC
     charges no fees and has employees who speak languages other than English.

             This Notice must remain posted for two years from the date below and must not be
     altered, defaced or covered by any other material. Any questions about this Notice may be
     directed to: Robert E. Weisberg, Regional Attorney, Re: CHN Consent Decree at U.S. Equal
     Employment Opportunity Commission 100 S.E. 2nd Street, Suite 1500, Miami, Florida 33131
     and robert.weisberg@eeoc.gov

     Date:
                                                           Title, Children's Home Network


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